980 F.2d 727
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerry Earl JONES, Plaintiff-Appellant,v.Corrections Officer Kevin L. HALL, Defendant-Appellee.
    No. 92-6699.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 30, 1992Decided:  December 11, 1992
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  Claude M. Hilton, District Judge.  (CA-90-1136-AM)
      Jerry E. Jones, Appellant Pro Se.
      Gayl Branum Carr, Office of the Attorney General of Virginia, Richmond, Virginia, for Appellee.
      E.D.Va.
      Affirmed.
      Before PHILLIPS, WILKINS, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    OPINION
    
      1
      Jerry E. Jones appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Jones v. Hall, No. CA90-1136-AM (E.D. Va.  June 9, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    